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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS,
                                   DALLAS DIVISION

GIGI’S CUPCAKES, LLC                              )
                                                  )
       Plaintiff,                                 )
                                                  )           Civil Action No. 3:17-cv-3009
            v.                                    )
                                                  )
4 BOX, LLC, NIKOLAS PAPPAS, AND                   )
LORAINE PAPPAS                                    )
                                                  )
       Defendants.                                )
                                                  )


                            PLAINTIFF’S ORIGINAL COMPLAINT

       COMES NOW Plaintiff Gigi’s Cupcakes, LLC (“Plaintiff” or “Gigi’s”), by and through

its attorneys, and files this Original Complaint and Request for Declaratory Judgment against

Defendants 4 Box, LLC, Nikolas Pappas, and Loraine Pappas (“4 Box” or “Defendants”) and in

support thereof respectfully alleges and shows the Court as follows:

                    I.     NATURE OF THE ACTION & INTRODUCTION

       1.        Gigi’s Cupcakes, LLC, a franchisor, brings this action against its franchisee, 4 Box,

LLC for violations of its Unit Franchise Agreement (“Franchise Agreement”) and a declaratory

judgment.

       2.        Defendants explicitly agreed in their Franchise Agreement to abide by certain

obligations in the management and operation of a Gigi’s franchise location. Despite their

contractual obligations, and contrary to their specific representations, Defendants violated and

continue to violate the terms of their Franchise Agreement.

       3.        Defendants now contend that Gigi’s, through a prior franchise operator from whom

Gigi’s purchased certain assets, made misrepresentations to the franchisees in certain initial


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disclosures at the time they decided to become franchisees, and thus its Franchise Agreement is

invalid.

        4.     Gigi’s is in no way responsible for the alleged misrepresentations of the previous

franchisor, if any. Furthermore, Gigi’s has operated the franchise organization in good faith and

has made numerous offers to assist Defendants with the operation of their business. Those offers

have been met by Defendants’ obstructionist tactics and refusals to even communicate with Gigi’s

officers.

        5.     Gigi’s asks this Court to declare that the Franchise Agreement is valid and

enforceable, that Gigi’s has not violated the Franchise Agreement and that Gigi’s is not liable for

any alleged misrepresentations of the previous franchisor. Further, Gigi’s brings this action to

hold Defendants accountable for their breaches of the Franchise Agreement and seeks the award

of its costs and attorneys’ fees in prosecuting this action.

                                      II.     THE PARTIES

        6.     Gigi’s Cupcakes, LLC is a Delaware limited liability company with its principal

place of business in Fort Worth, Texas at 550 Bailey Avenue, Suite 650, Fort Worth, Texas 76147.

        7.     Defendant 4 Box, LLC is an Indiana limited liability company with its principal

place of business at 11691 E. 206th St., Noblesville, Indiana, 46060.

        8.     Upon information and belief, Defendants Nikolas Pappas and Loraine Pappas are

Indiana residents residing at 11691 E. 206th St., Noblesville, Indiana, 46060.

        9.     Defendants operate a Gigi’s Cupcakes franchise store in Noblesville, Indiana.

                             III.    JURISDICTION AND VENUE

        10.    The Court has original jurisdiction over this matter pursuant to 28 U.S.C. §1332

because there is complete diversity of citizenship between Gigi’s Cupcakes and Defendants and



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the amount in controversy exceeds $75,000, exclusive of interest and costs. Gigi’s Cupcakes is a

citizen of Texas for purposes of diversity jurisdiction because its members are citizens of Texas

and its principal place of business is in Texas. 4 Box and its principals Nikolas Pappas and Loraine

Pappas are citizens of Indiana.

         11.   Venue is proper in this District. The Franchise Agreement contains a provision that

states the “Franchisor and Franchisee consent to the non-exclusive personal jurisdiction of, and

venue in the state or Federal courts situated where the Franchisor’s principal place of business is

then located….” See Franchise Agreement § 20.3.3. Gigi’s principal place of business is in this

District, and Gigi’s regularly conducts business in the District and owns and operates several

Gigi’s Cupcakes locations in North Texas.

         12.   This Court has personal jurisdiction over Defendants because Defendants have

contracted with a Texas resident where at least one party is to perform the contract in whole or in

part in Texas and Defendants systematically conduct and transact business in Texas. Additionally,

the Franchise Agreement contains a provision that states: “The parties consent to the personal

jurisdiction of and venue in any such courts, and irrevocably waive objection to such jurisdiction

and venue.” See Franchise Agreement § 20.3.3. As described above, “such courts” includes the

United States District Court for the Northern District of Texas.

                              IV.     FACTUAL BACKGROUND

         13.   In 2008, Nashville, Tennessee-area business woman Gina Butler formed Gigi’s

Cupcakes by following the advice of her family and using the family recipe to open a cupcake

store.

         14.   Gigi’s Cupcakes Franchising, LLC (“Prior Franchisor”) licensed the concept

briefly in 2009, but did not begin offering uniform franchises until 2011, when it published its first



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Franchise Disclosure Document in conformity with the Federal Trade Commission’s

requirements.

           15.      On or about January 20, 2014, 4 Box executed a Unit Franchise Agreement with

the Prior Franchisor to operate a Gigi’s Cupcakes store in Noblesville, Indiana.1

           16.      Under the Franchise Agreement, the term of the agreement extends from “the

Effective date or the date the Store opens for business, whichever is later, for a period of ten (10)

years.” See Franchise Agreement, § 2.1.

           17.      The individual Defendants, as principals of 4 Box, entered into a Guaranty of the

Franchisee’s Undertakings wherein they personally and unconditionally guaranteed to the

Franchisor “payment and performance, when due, whether by acceleration or otherwise, of any

and all Obligations of Franchisee to Franchisor under the Agreement.” See Exhibit A of the

Franchise Agreement.

           18.      Since initiating operation of its franchise location, Defendants have failed to install

and operate the required point-of-sale software.

           19.      In mid-2016, Ms. Butler and the individuals who co-owned the Gigi’s Cupcakes

brand agreed to sell substantially all of the assets of the Gigi’s Cupcakes system, including the

franchise relationships as defined and governed by various franchise agreements, to a new entity

formed by KeyCorp, LLC called Gigi’s Cupcakes, LLC.

           20.      This transaction, which was documented in an Asset Purchase Agreement (“APA”),

occurred on or about May 31, 2016. The parties to this transaction understood and agreed in

writing to a sale of only the Prior Franchisor’s assets, not its equity or full liabilities, though Gigi’s

did take some limited liabilities that are not at issue in this dispute.


1
    The Franchise Agreement is attached to this Complaint as Exhibit A.



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         21.   In addition to the APA, Gigi’s further confirmed with Defendants that it purchased

substantially all of the assets of the Prior Franchisor in a July 19, 2016 New Day letter as well as

phone calls and meetings with Defendants following the acquisition from Prior Franchisor.

         22.   In June 2016, Gigi’s discovered a number of undisclosed financial and structural

issues within the franchise system that required immediate attention. One of those structural issues

concerned the franchise system’s supply chain.

         23.   As a result, Gigi’s undertook efforts to secure an agreement with a new food

supplier, including requesting proposals from numerous vendors. After conducting an in-depth

review of the proposals, Gigi’s exercised its business judgment and selected a new vendor.

         24.   Various franchisees, including Defendants, disagreed with the business decision of

Gigi’s and have instigated discord among a group of franchise owners. In particular, Defendant

Nikolas “Nick” Pappas has posted numerous times to a Facebook group titled “Gigi’s Cupcake

Talk.”

         25.   In doing so, Defendant Nick Pappas assisted in the unauthorized use of the Gigi’s

Cupcakes trademarked name within this social media page and used this forum to make

disparaging statements about Gigi’s business judgment.

         26.   The posts’ content demonstrates, at best, a misunderstanding of the efforts that

Gigi’s has undertaken to support the system, and, at worst, an insulting rejection of the good faith

that Gigi’s has shown to support its franchisees.

         27.   On or about October 23, 2017, the parties, per the terms of the Franchise

Agreement, attempted to address their disputes in mediation. See Franchise Agreement, § 20.3.

The mediation failed. Since that time, Defendants, through counsel, contest the validity of their

Franchise Agreement.



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        28.    Defendants further contend that Gigi’s has violated and continues to violate the

Franchise Agreement through its selection of a new supplier to provide ingredients and supplies

to the franchise system.

        29.    With respect to the validity of the Franchise Agreement, Defendants maintain that,

at the time they decided to become franchisees, certain initial disclosures contained

“misrepresentations,” particularly in Franchise Disclosure Documents.

        30.    Because of those alleged “misrepresentations,” Defendants posit that the Franchise

Agreement is void, and there is no agreement between Gigi’s and the Defendants.

        31.    Prior to taking this position through counsel, Defendants have recognized Gigi’s as

the franchisor for at least 16 months, including by paying royalties to Gigi’s in accordance with

their Franchise Agreement.

        32.    Defendants are now refusing to abide by their Franchise Agreement or engage with

Gigi’s in a meaningful way regarding the status of their franchise, its operations and its future

viability.

        33.    Defendants received a letter on October 27, 2017 requesting information regarding

the operational issues of the Defendants.

        34.    4 Box did not respond to the letter, as was requested by Gigi’s. Rather, Defendants

directed Gigi’s to correspond only with their lawyer.

        35.    All conditions precedent have occurred.

         V.     MATERIAL PROVISIONS OF THE FRANCHISE AGREEMENT

        36.    Sections 12.1 and 12.2 of the Franchise Agreement outline curable events of

default. Upon the occurrence of those events, Gigi’s has the right to terminate the franchise

agreement for cause unless the franchisee cures the event of default within the allowed time, after



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Franchisor gives Franchisee written notice of default. According to the agreement, Gigi’s has no

obligation to give Defendants notice of default if the Defendants have actual or constructive

knowledge of the facts giving rise to the breach. An example of curable event of default, includes

but is not limited to, the following:

       12.2.5          If Franchisee fails to perform or breaches any other covenant,
       obligation, term, condition, guarantee, warranty or certification in this Agreement
       (except those described as "non-curable" events of defaults under Section 12.3 or
       fails to operate the Franchised Business in the manner set forth in the Confidential
       Manuals or as otherwise specified by Franchisor in writing, or fails to pay promptly
       any undisputed bills from any vendor or supplier, Franchisee shall have fifteen (15)
       business days after notice from Franchisor to cure same.

       37.     Section 12.3 of the Franchise Agreement outlines “non-curable” events of default.

Upon the occurrence of those non-curable events, Gigi’s has the right to terminate the Franchise

Agreement. An example of a non-curable event of default, includes but is not limited to, the

following:

       12.3.14       If Franchisee causes or allows any alteration, misuse or
       unauthorized use of Franchisor's Proprietary Marks, or otherwise breaches or fails
       to comply with any provision of SECTION 5 as to the Proprietary Marks.

       38.     Section 5 of the Franchise Agreement outlines the responsibilities of the Defendants

in relation to the System and the Proprietary Marks. Section 5 states, in part, as follows:

       5.1 Ownership            Franchisor or an affiliate owns or has the right to license the
       Proprietary Marks to Franchisee. Franchisee expressly acknowledges and agrees
       (i) that these rights in and to the Proprietary Marks are superior, (ii) not to act or
       represent in any manner that Franchisee has acquired any ownership rights in the
       Proprietary Marks, (iii) not to use any of the Proprietary Marks or any marks, names
       or indicia which are or may be confusingly similar in its own corporate or business
       name, except as approved by Franchisor . . . .

       5.2 Compliance.         Franchisor may in its sole discretion establish and administer
       as part of the Gigi's System standards of quality, appearance and operation for the
       Franchised Business. For the purpose of giving distinctiveness to the Proprietary
       Marks, enhancing the public image and reputation of businesses operating under
       the Gigi's System and for the purpose of increasing the demand for services and
       products provided by Franchisee and Franchisor, the Franchisee covenants to


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       operate the Store, each Off Premises Unit and the Franchised Business in strict
       conformity with Franchisor's standards and all rules, regulations, and policies
       which are by their terms mandatory, including without limitation, those contained
       in the Confidential Manuals or otherwise communicated to Franchisee in writing.

       5.4 Infringements. Franchisee acknowledges and agrees that any use of the
       Proprietary Marks other than as expressly authorized by this Agreement, without
       Franchisor's prior written consent, may constitute an infringement of Franchisor's
       rights and that the right to use the Proprietary Marks granted in this Agreement does
       not extend beyond the termination or expiration of this Agreement.

       39.     Section 6 of the Franchise Agreement details the Operational requirements

of a franchise location:

       6.4.4           Franchisee shall purchase, install, utilize and maintain at the
       Premises and each Off Premises Unit, at Franchisee's expense, all fixtures,
       furnishings, signs and equipment, including without limitation the Gigi's Identity
       Package and the computerized point-of-sale ("POS") systems and other computer
       hardware and software as shall be set forth in the Confidential Manuals or as
       Franchisor may otherwise specify or approve in writing from time to time, and to
       refrain from installing, or permitting to be installed, on or about or in connection
       with the Premises or the Franchised Business, any item not so specified or
       approved by Franchisor.

       6.6 Operation           Franchisee covenants to operate the Franchised Business in
       conformity with the Gigi's System and such methods, standards and specifications
       as set forth in the Confidential Manuals or as Franchisor may otherwise specify in
       writing from time to time, to ensure that Franchisor's required degree of quality,
       service and image is maintained, and to refrain from deviating there from and from
       otherwise operating in any manner which adversely reflects on Franchisor's name
       and goodwill, or on the Proprietary Marks.

       40.     Section 6 of the Franchise Agreement also requires the Defendants to abide

by and use in their store location the suppliers selected by Gigi’s.

       6.12 Sources of Supply.        Franchisor may specify in the Confidential Manuals
       or otherwise in writing (i) source-restricted purchases for the Franchised Business
       that may be obtained only from designated or approved sources; (ii) specified
       purchases for the Franchised Business that may be obtained from any lawful
       source so long as the purchase meets Franchisor's specifications; (iii) unrestricted
       purchases that may be obtained from any lawful source; and (iv) proprietary
       purchases that must be obtained only from Franchisor or an affiliate. Franchisor
       may also specify in the Confidential Manuals or otherwise preferred and vendors
       for specified purchases and unrestricted purchases from whom Franchisor may


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       receive a financial benefit based on sales to franchisees. Unless any purchase is
       designated as unrestricted by Franchisor, Franchisee shall purchase and use in the
       Franchised Business all fixtures, furnishings, signs, equipment, POS systems,
       inventory, ingredients, packaging, uniforms, advertising materials, website
       marketing services, website online ordering services, other services, and other
       supplies, products and materials required for the operation of the Franchised
       Business solely from suppliers who demonstrate, to the continuing reasonable
       satisfaction of Franchisor, the ability to meet Franchisor's reasonable standards,
       specifications and requirements for such items regarding quality, variety, service,
       safety and health; who possess adequate quality controls and capacity to supply
       Franchisee's needs promptly and reliably; who have a sound financial condition
       and business reputation; who will supply such items to a sufficient number of
       Franchisees to enable Franchisor to monitor compliance by the supplier with the
       Franchisor's standards, specifications, and requirements on a cost effective basis;
       and who have been approved for such items in writing by Franchisor and not
       thereafter disapproved. If Franchisee desires to purchase any item from an
       unapproved supplier, Franchisee shall submit to Franchisor a written request for
       such approval in accordance with procedures set forth in the Confidential Manuals
       or as otherwise specified by Franchisor in writing from time to time. Franchisor
       will notify Franchisee in writing within a reasonable time if such request is
       granted. Franchisor may in its discretion increase or decrease the number of
       approved suppliers, designate itself as an approved or exclusive supplier, and make
       a profit or otherwise receive value in kind or rebates from the designation of
       approved suppliers and/or from the sale of supplies to Franchisee.

       41.    Additionally, Section 17 of the Franchise Agreement requires the

Defendants to indemnify Gigi’s for any and all “Losses and Expenses,” as follows:

       17.1 Franchisee will, at all times, indemnify and hold harmless to the fullest
       extent permitted by law, Franchisor, its corporate parent (member) and their
       affiliates, the respective shareholders, members, directors, officers, employees,
       agents and representatives of each, and their respective successors and assigns,
       from all "Losses and Expenses" (as defined below) incurred in connection with any
       action, suit, proceeding, claim, demand, investigation or inquiry (formal or
       informal), or any settlement thereof (whether or not a formal proceeding or action
       has been instituted) which arises out of or is based upon any of the following:

       17.2 Franchisee's infringement, alleged infringement or any other violation or
       alleged violation of any trademark, copyright or other proprietary right owned or
       controlled by third parties;

       17.5 Franchisee's violation or breach of any warranty, representation, agreement
       or obligation in this Agreement;




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        42.      Section 17.9 of the Franchise Agreement defines “Losses and Expenses”

as follows:

        17.9 Losses and Expenses. As used in this Section, the phrase "Losses and
        Expenses" shall include, without limitation, all losses, compensatory, exemplary or
        punitive damages, penalties, fines, charges, costs, expenses, lost profits, attorneys'
        fees, court costs, settlement amounts, judgments, compensation for damages to
        Franchisor's reputation and goodwill, costs of or resulting from delays, financing,
        costs of advertising material and media time/space, and costs of changing,
        substituting or replacing the same, and any and all expenses of recall, refunds,
        compensation, public notices and other such amounts incurred in connection with
        the matter.

        43. Section 21.8 of the Franchise Agreement defines “Reasonable Business

Judgment” to provide Gigi’s with significant discretion to make decisions for the long-term

benefit of the entire franchise system, even if such decisions do not take into account the

individual economic interests of one franchisee over another.

                                      VI.      CAUSES OF ACTION

                               COUNT I - BREACH OF CONTRACT2

        44.      Plaintiff repeats and realleges the facts contained in the preceding paragraphs and

incorporates them fully herein.

        45.      Defendants breached the Franchise Agreement by participating in and posting on

the Gigi’s Cupcake Talk Facebook page, which utilized proprietary marks without Gigi’s

Cupcakes’ permission in violation of Section 5 of the Franchise Agreement and Section 12.3.14

of the Franchise Agreement.




2
 Tennessee law controls the claims in this case. See Franchise Agreement § 20.1 (“This Agreement and any dispute
between Franchisor and Franchisee shall be governed by and construed in accordance with the laws of the State of
Tennessee (without regard to the application of Tennessee conflicts of law or venue rules) and the United States of
America.”).

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                            COUNT II - BREACH OF CONTRACT

       46.     Plaintiff repeats and realleges the facts contained in the preceding paragraphs and

incorporates them fully herein.

       47.     Defendants, upon information and belief, have breached the Franchise Agreement

by refusing to order inventory, ingredients, and other necessary goods through the required

suppliers, in breach of Section 6.12 of the Franchise Agreement.

       48.     Defendants, upon information and belief, have not submitted to Gigi’s a written

request to use an alternate vendor to provide supplies, and thus by using an unapproved vendor,

are in breach of Section 6.12 of the Franchise Agreement.

                       COUNT III – BREACH OF CONTRACT

       49.     Plaintiff repeats and realleges the facts contained in the preceding paragraphs and

incorporates them fully herein.

       50.     Defendants have refused to install and use the point-of-sale system, in violation of

Section 6.4.4 of the Franchise Agreement.

                          COUNT IV – ANTICIPATORY BREACH

       51.     Plaintiff repeats and realleges the facts contained in the preceding paragraphs and

incorporates them fully herein.

       52.     Since disputing the existence of a valid Franchise Agreement, Defendants have

refused to respond to correspondence concerning ordinary operations of the Franchise.

       53.     Defendants’ conduct, including a refusal to communicate with Gigi’s in the

ordinary course of business and informing Gigi’s to refer to their attorney regarding all operational

matters, demonstrates an intention to refuse to perform their duties under the Franchise Agreement.




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        54.      Defendants’ conduct is in accordance with their contention that no Franchise

Agreement exists.

                 COUNT V – ACTION FOR DECLARATORY JUDGEMENT3

        55.      Plaintiff repeats and realleges the facts contained in the preceding paragraphs and

incorporates them fully herein.

        56.      Defendants contend that Gigi’s is currently in breach of its obligations under the

Franchise Agreement and have refused to comply with Defendants’ duties under the Franchise

Agreement. Further, Defendants assert that the Franchise Agreement is unenforceable, due to the

Prior Franchisor’s alleged misrepresentations.

        57.      Due to Defendants’ repudiation of the Franchise Agreement and breach of the

Franchise Agreement, Gigi’s has been unable to conduct its usual management and supervision of

the Defendants, as is required by the Franchise Agreement.

        58.      Further, Defendants contest the discretion Gigi’s holds to make decisions for the

entire franchise system, even if their own economic circumstances do not benefit from such

decisions. Though the Franchise Agreement unambiguously provides Gigi’s with such discretion,

a true controversy exists whether Gigi’s decision to enter into a food distribution contract fell

within Gigi’s Reasonable Business Judgment, as defined in Section 21.8 of the Franchise

Agreement.

        59.      As a result of the Defendants’ position, a true controversy exists over whether the

Franchise Agreement is enforceable between the parties, and, if so, whether Gigi’s has breached

its obligations under the Franchise Agreement.



3
 Gigi’s brings this declaratory judgment pursuant to 28 U.S.C. §§ 2201, 2202 (2010) and Tenn. Code. Ann. §§ 29-
14-103– 29-14-113 (2017).



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                             VII.    ATTORNEYS’ FEES AND COSTS

       60.       Plaintiff repeats and realleges the facts contained in the preceding paragraphs and

incorporates them fully herein.

       61.       Because of Defendants’ breach of the Franchise Agreement, Gigi’s has been forced

to retain counsel and proceed with this action.

       62.       Therefore, pursuant to Section 17.1 of the Franchise Agreement, Gigi’s is entitled

to reimbursement for any expenses it incurs in connection with this action, including attorneys’

fees and costs of court.

                                       VIII. NO JURY TRIAL

       63.       Pursuant to Section 20.5 of the Franchise Agreement, the Defendants have agreed

as follows:

       Jury Trial Waiver. THE PARTIES WAIVE THE RIGHT TO A JURY
       TRIAL IN ANY ACTION RELATED TO THIS AGREEMENT OR THE
       RELATIONSHIP BETWEEN FRANCHISOR, THE FRANCHISEE, ANY
       GUARANTOR, AND THEIR RESPECTIVE SUCCESSORS AND ASSIGNS.

       (emphasis in original)

                                    IX.    PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment in its favor as follows:

   1. That Plaintiff recovers all damages it has sustained as a result of Defendants’ breach of
      contract, including liquidated damages, and already-incurred attorneys’ fees;

   2. An Order declaring the following:
              a. The Franchise Agreement between Plaintiff and Defendants is enforceable.
              b. Plaintiff is not in breach of the Franchise Agreement.
              c. Plaintiff, as asset purchaser, is not responsible for misrepresentations of the Prior
                 Franchisor.
              d. Plaintiff, as franchisor, holds the discretion to select a food distributor for the
                 entire franchise system.


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   3. Plaintiff recovers its costs and expenses in this action, along with pre- and post-judgment
      interest; and
   4. All such other and further relief as the Court may deem just and proper.




Dated: November 1, 2017                     Respectfully submitted,

                                            WINSTON & STRAWN LLP



                                            By:/s/ John C.C. Sanders, Jr.

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